         Case 2:18-cv-01781-APG-BNW Document 129 Filed 10/26/20 Page 1 of 1




 1                              UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 FREDERICK H. SHULL, JR.,                                Case No.: 2:18-cv-01781-APG-BNW

 4          Plaintiff                                      Order Dismissing Defendants U.S.
                                                         Department of Education and Gregory
 5 v.                                                                  McGhee

 6 THE UNIVERSITY OF QUEENSLAND, et
   al.,
 7
        Defendants
 8

 9

10         I previously granted plaintiff Frederick Shull leave to amend his claims against the only

11 remaining defendants in this case, U.S. Department of Education and Gregory McGhee. ECF No.

12 128. I advised Shull that failure to file an amended complaint by October 9, 2020 would result in

13 dismissal of his claims against these defendants with prejudice. Id. Shull did not file an amended

14 complaint.

15         I THEREFORE ORDER that plaintiff Frederick Shull’s claims against defendants U.S.

16 Department of Education and Gregory McGhee are DISMISSED with prejudice. The clerk of

17 court is instructed to enter judgment consistent with this order and to close this case.

18         DATED this 26th day of October, 2020.

19

20
                                                          ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
21

22

23
